Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 1 of 6 PageID 3649




                 EXHIBIT 6
Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 2 of 6 PageID 3650




                              MOORE, HILL & WESTMORELAND, P.A.
                                                ATTORNEYS AT LAW

  LARRY HILL                                  PENSACOLA OFFICE                H. EDWARD MOORE, JR.
  CHARLES F. BEALL, JR. *‡+                                                            RETIRED
                                             Maritime Place | Suite 100            _______________
  GEORGE R. MEAD, II
                                           350 West Cedar Street (32502)
  DANIEL M. EWERT ♦                                                            J. LOFTON WESTMORELAND
                                               Post Office Box 13290
  JESSICA L. SCHOLL +                                                                (1946 - 2004)
                                           Pensacola, Florida 32591-3290
  R. ALEX ANDRADE +
  HALEY J. VANFLETEREN +                      Telephone (850) 434-3541
  SAMANTHA M. FOLKES                           Telefax (850) 435-7899
                                         ___________________________________
  * Board Certified Civil Trial Lawyer
                                                                                       Internet
  ‡ Board Certified Appellate Lawyer        ♦ JACKSON HOLE OFFICE ♦            http://www.mhw-law.com
  + Also Admitted in Alabama                140 East Broadway, Suite 25
  ♦ Also Admitted in Wyoming &                  Post Office Box 3095
  Texas
                                                                                Writer’s Email Address:
                                             Jackson, Wyoming 83001             emead@mhw-law.com

                                             Telephone (307) 200-0069



                                               August 5, 2024

 Via Electronic Mail

 Counsel of Record for Defendants:
 Andrew W. Greenberg
 Susan Greenberg
 Abby Greenberg
 AWG, Inc.
 Greenberg Dental Associates
 Joel Micah Greenberg

            Re: Dorworth v. Greenberg, et al., Case No. 23-cv-00871


            Pursuant to the Confidentiality Agreement Governing Lawsuit, executed on

 or about October 6, 2023, Plaintiff’s counsel provides the following chart and

 redacted version of the Transcript of the Deposition of Rebekah Dorworth, taken

 by the parties on July 23, 2024. Attached to the email transmitting this designation

 is a proposed redacted copy of the transcript itself. Plaintiff, contemporaneously

 with the designation of the below excerpts as confidential, rescinds its prior

 designation of the transcript in its entirety, made on July 23, 2024.
Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 3 of 6 PageID 3651




             Page                               Line

         References to Defendant A.B. Containing Identifying Information

             458                             10-11, 19-22

             461                             10-12, 13-20

                 References to Sensitive Information of 3rd Parties

             247                                10-12

             248                                 1-15

             259                             10-11, 17-19

             262                                1-25

             263                                1-24

             264                                7-13

             265                                20-25

             266                                 1-11

             268                                7-16

             269                         2-6, 14-19, 23-25

             270                      1-2, 4-8, 10-13, 23-25

              271                                1-5

             274                                18-24

             275                                1-25

             276                                1-25



                                         2
Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 4 of 6 PageID 3652




              277                                1-5

              278                              23-24

             280                             9-13, 18-25

              281                            1-2, 20-21

              337                               2-13

              361                              10-18

             362                       2-8, 16, 18-19, 24-25

             363                                 1-7

          Sensitive Information Regarding Plaintiff’s Marital Relationship

              111                              19-20

              112                               8-9

              125                              23-25

             248                               18-22

             249                                2-5

             286                                8-14

              287                               7-15

             336                             9-12, 24-25

              337                               2-6

             339                                5-8

              341                            8-13, 17-23

             342                                 16



                                         3
Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 5 of 6 PageID 3653




             362                            24-25

             363                             1-7

             384                            22-23

             385                            12-14

             386                             2-5

             433                            7-22

             434                             1-25

             435                             1-25

             436                             1-12

             461                            7-20

             462                             2-4



                                    /S/ R. Alex Andrade
                                    R. Alex Andrade
                                    Florida Bar No. 111337
                                    George R. Mead, II
                                    Florida Bar No. 096490
                                    Charles F. Beall, Mr.
                                    Florida Bar No. 66944
                                    emead@mhw-law.com
                                    cbeall@mhw-law.com
                                    aandrade@mhw-law.com
                                    tstokes@mhw-law.com
                                    kalbini@mhw-law.com
                                    hmalone@mhw-law.com
                                    MOORE, HILL & WESTMORELAND, P.A.
                                    350 West Cedar Street
                                    Maritime Place, Suite 100
                                    Pensacola FL 32502
                                    Telephone: (850) 434-3541


                                       4
Case 6:23-cv-00871-CEM-DCI Document 186-6 Filed 09/06/24 Page 6 of 6 PageID 3654




                                    Counsel for Plaintiff, Christopher E.
                                    Dorworth




                                       5
